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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

JAY CONNOR, individually
and on behalf of a class of all persons and
entities similarly situated,

               Plaintiffs,
                                                                              2:25-cv-01655-DCN
vs.                                                           Case No.

CARE TALK HEALTH FL, PA,
and
KENNETH RICE,

               Defendants.

                                CLASS ACTION COMPLAINT

                                     Preliminary Statement

        1.       Telemarketing calls are intrusive. A great many people object to these calls,

which interfere with their lives, tie up their phone lines, and cause confusion and disruption on

phone records. Faced with growing public criticism of abusive telephone marketing practices,

Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105

Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response

to Americans             over the proliferation of intrusive, nuisance calls to their homes from

               id. § 2(6), and sought to strike a balance between                 privacy rights,

public safety interests, and commercial             id. § 2(9).

        2.      The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

                                                                                 -Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive
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telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B)

abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .



             -not-

monetary or injunctive relief. I     This private cause of action is a straightforward provision

designed to achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to protect his

own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon

their domestic peace     Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

        3.       Plaintiff Jay Connor brings this action alleging a violation of the TCPA for

contact his number that he placed on the National Do Not Call Registry.

        4.       The Plaintiff also brings this action pursuant to the South Carolina Telephone

Privacy Protection Act                 , S.C. Code § 37-21-10 et. seq.

        5.       The SCTPPA prohibits a company from making a call to a South Carolina

telephone number that had been registered on the Do Not Call Registry, as Mr. Connor

prior to receiving the call.

        6.       Mr. Connor and putative class members never consented to receive these calls.

Because telemarketing campaigns generally place calls to hundreds of thousands or even

millions of potential customers en masse, Mr. Connor brings this action on behalf of a proposed

nationwide class of other persons who received illegal telemarketing calls from or on behalf of

Defendants.
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        7.     A class action is the best means of obtaining redress for the Defendant wide-

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                               Parties

        8.     Plaintiff Jay Connor resides in Charleston County, South Carolina.

        9.     Defendant Care Talk Health FL, PA is a Florida Professional Association.

        10.    Defendant Kenneth Rice is a doctor and an employee of Defendant Care Talk.

                                         Jurisdiction & Venue

        11.    The Court has federal question jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227 et seq. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over

the SCTPPA claims as they arise from the same case and controversy, the telemarketing

campaign of the Defendants.

        12.    The Court has specific personal jurisdiction over the defendants because the calls

at issue were made into this District.

        13.    Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claim    namely, the calls to Mr. Connor    occurred in this

District.


                                         Statutory Background

        14.    In 1991, Congress enacted the TCPA to regulate the explosive growth of the



                                                                                          1, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).
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        15.      In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices.

        16.      § 227(c) of the TCPA requires the FCC to




        17.      The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

        18.



Id.
        19.      FCC regulations also expressly require companies that engage in telemarketing to

implement certain policies and procedures for maintaining an internal do not call list. 47 C.F.R. §

64.1200(d).

        20.      Courts across the country have held that the 47 U.S.C. § 227(c)(5) provides a

private right of action for claims premised on violations of the TCPA implementing regulations

promulgated pursuant to 47 U.S.C. §§ 227(c)(1)-(4), including for example claims under 47

C.F.R. § 64.1200(d).

        21.

six specific minimum requirements. 47 C.F.R. §§ 64.1200(d)(1)-(6).

        22.      One of them is maintaining an internal do not call list. Id. at § (d)(6).

        23.      Another is training personnel regarding the existence and use of the internal do

not call list. Id. at § (d)(2).

        24.      And still another is recording do not call requests and complying with them. Id. at

§ (d)(3).
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       25.     If a company fails to satisfy any one of these requirements, it is not entitled to

engage in telemarketing (and violates the law by doing so), regardless of whether it satisfies all



       26.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

                                                                                   are made. 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).



The SCTPPA

       27.     On May 18, 2018, the State of South Carolina signed into law the South Carolina

Telephone Privacy Protection Act, S.C. Code § 37-21-10 et. seq.

       28.     The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to a South Carolina telephone number that has been listed on the National

Do Not Call Registry. See S.C. Code § 37-21-70.

       29.     The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA. S.C.

Code § 37-21-80.

                                        Factual Allegations


Calls to Mr. Connor
       30.     Mr. Connor

U.S.C. § 153(39).

       31.     Mr. Connor                               XXX-XXXX has been on the National Do

Not Call Registry since 2009.

       32.     That telephone number is for personal calls only.
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        33.

        34.    That telephone number is not used for business purposes.

        35.    Despite this, the Plaintiff received at least nine telemarketing calls from the

Defendants.

        36.    The Plaintiff never provided his prior express written consent to receive

telemarketing calls from the Defendants.

        37.    The first such call came in on October 16, 2024 at 5:34 PM from the Caller ID

843-557-                                                       to offer the plaintiff a genetic saliva

test. The Plaintiff hung up.

        38.    The next such call came in on October 17, 2024 at 1:22 PM from a similar Caller

ID 843-557-

saliva test. The Plaintiff hung up.

        39.    The next such call came in on October 29, 2024 at 3:27 PM from Caller ID 843-

388-

disconnected the call.

        40.    Thereafter, on November 8, 2024 at 11:12 AM, the Plaintiff received a call from

843-557-5397. During this call, the caller stated that he was calling to offer the plaintiff a genetic

                                             on the 29th, where he was unable to reach the

Plaintiff.

        41.

confirmed that she was a nurse for Defendant Rice. However, the call disconnected shortly after



Defendants.

        42.    A few minutes after the disconnection, the Plaintiff received a call from 813-652-

0610 at 12:17 PM. The representative re                                                    individual

who spoke with the Plaintiff on the previous call.
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       43.     During this very call, Katie confirmed that she worked as a nurse for Defendant

Care Talk. The Plaintiff also spoke to co-Defendant Rice, who also confirmed that he worked for

Defendant Care Talk.

       44.     Thereafter, at 1:47 PM, the Plaintiff received a call from 843-557-5397. As soon

as the Plaintiff answered, the line disconnected.

       45.     The Plaintiff then immediately got a call from the same number. It was an

individual that the Plaintiff spoke with on the previous calls that same daythat wanted to re-

                                                                                reminded the caller

of the previous request not to call again, which the caller stated that he remembered and

acknowledged.

       46.     Despite this clear indication he did not want to receive calls, the Plaintiff received

another call at 2:48 PM from 843-377-2793.

       47.



                                                                               doing so after the

previous refusal.

       48.     Finally, the Plaintiff received a call from 448-231-2748 at 3:20 PM on November



                                                                                    List.

       49.     The fact that the Defendants made the calls is confirmed by the fact that



of the calls in which Plaintiff spoke to Defendant Rice and his nurse:
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       50.



       51.     Indeed, the requirements for both such screenings require the doctor to administer



physician of screening results and who can facilitate and coordinate referrals to treatment as

necessary.

       52.     The calls were unwanted.

       53.     The calls were nonconsensual encounters.

       54.                                                                     -described

telemarketing calls.

       55.     Plaintiff never provided his consent or requested the calls.

       56.     Plaintiff and the Classes have been harmed by the acts of Defendants because

their privacy has been violated and they were annoyed and harassed. In addition, the calls

disturbed them at early hours of the day, occupied their telephone message space, storage space,

and bandwidth, rendering them unavailable for legitimate communication, including while

driving, working, and performing other critical tasks.


                                     Class Action Allegations


      43.      As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff bring this action on behalf of classes of all other persons or entities similarly

situated throughout the United States.

      44.      The classes of persons Plaintiff propose to represent are tentatively defined as:


National Do Not Call Registry Class:

       All persons in the United States whose (1) residential telephone numbers were on the
       National Do Not Call Registry for at least 31 days, (2) but who received more than one
       telemarketing call from or on behalf of Defendants, (3) within a 12-month period, (4) at
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       any time in the period that begins four years before the date of filing this Complaint to
       trial.

Internal Do Not Call Registry Class:

       All persons in the United States whose (1) previously requested that their
       telephone numbers no longer at least 31 days previously, (2) but who
       received more than one telemarketing call from or on behalf of Defendants,
       (3) within a 12-month period (4) at any time in the period that begins four
       years before the date of filing this Complaint to trial.

SCTPPA Class:

       All persons with a South Carolina area code to whom (a) at any time from four years
       prior to the filing of the Complaint (b) Defendants, or someone acting on their behalf (c)
       placed at least one telephone solicitation to a number registered on the National Do Not
       Call Registry.


       45.      Excluded from the classes are the Defendants, and any entities in which the

Defendants have a controlling interest, the Defendant agents and employees, any judge to



       46.      The classes as defined above are identifiable through phone records and phone

number databases that will be obtained through discovery.

       47.      The potential class members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals a day. Individual

joinder of these persons is impracticable.

       48.      Plaintiff is a member of both classes.

       49.      There are questions of law and fact common to Plaintiff and to the proposed

classes, including but not limited to the following:

             a. Whether the Defendants violated the TCPA by calling individuals on the National

Do Not Call Registry or that had asked to previously no longer receive calls;

             b. Whether the Defendants

consent for the call;
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                c. Whether the Defendants violated the SCTPPA by making calls to South Carolina

telephone numbers registered with the National Do Not Call Registry; and

                d. Whether Plaintiff and the class members are entitled to statutory damages because

of the Defendants actions.

          50.      Plaintiff s

like the claims of the classes, arise out of the same common course of conduct by the Defendants

and are based on the same legal and remedial theories.

          51.      Plaintiff is an adequate representative of the classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

          52.      In fact, the Plaintiff have foregone a simpler path to recovery by filing this matter

as a putative class action, as opposed to an individual claim.

          53.      The actions of the Defendants are generally applicable to the classes and to the

Plaintiff.

          54.      Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendants and/or their

agents.

          55.      The likelihood that individual class members will prosecute separate actions is

remote due to the time and expense necessary to prosecute an individual case, and given the

small recoveries available through individual actions.


                                              Legal Claims

                                               Count One:
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                               Telephone Consumer Protection Act
                    Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
                (On Behalf of Plaintiff and the National Do Not Call Registry Class)


       56.        Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       57.        The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to Plaintiff and members of the National Do Not Call Registry Class despite their

numbers being on the National Do Not Call Registry.

       58.        Defendants violations were negligent, willful, or knowing.

       59.        As a result of Defendants violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the National Do Not Call Registry Class are presumptively entitled to an award of

between $500 and $1,500 in damages for each call made.

       60.        Plaintiff and the members of the National Do Not Call Registry Class are also

entitled to and do seek injunctive relief prohibiting Defendants and/or their affiliates, agents,

and/or other persons or entities acting on Defendants behalf from making telemarketing calls to

telephone numbers registered on the National Do Not Call Registry, except for emergency

purposes, in the future.

                                              Count Two:
                                       Violation of the SCTPPA

       61.        Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.
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       62.     The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to an area code of the state of South Carolina to a number that is registered

on the National Do Not Call Registry.

       63.     The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA, as well

                            . S.C. Code § 37-21-80.



                                        Count Three:
                          Violations of the TCPA, 47 U.S.C. § 227
                     (On Behalf of Plaintiff and the Internal DNC Class)

       64.     Plaintiff repeats the prior allegations of this Complaint and incorporate them by

reference herein.

       65.     Defendants placed numerous calls for telemarketing purposes to Plaintiff and



       66.     Defendants

requests.

       67.     Defendants did so despite not training its personnel on the existence or use of any



       68.     Defendants

       69.     Defendants placed two or more telephone calls to Plaintiffs and Internal DNC

Class members in a 12-month period.

       70.     Plaintiff and Internal DNC Class members are entitled to an award of up to $500

in statutory damages per telephone call pursuant to 47 U.S.C. § 227(c)(5).
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       71.     Plaintiff and Internal DNC Class members are entitled to an award of treble

damages in an amount up to $1,500 per telephone call, pursuant to 47 U.S.C. § 227(c)(5).



                                            Relief Sought

       For themselves and all class members, Plaintiff request the following relief:

       A.      Certification of the proposed classes;

       B.      Appointment of the Plaintiff as representatives of the classes;

       C.      Appointment of the undersigned counsel as counsel for the classes;

       D.      A declaration that Defendants and/or their affiliates, agents, and/or other related

                                                            and SCTPPA;

       E.      An order enjoining Defendants and/or their affiliates, agents, and/or other related

entities, as provided by law, from engaging in the unlawful conduct set forth herein;

       F.      An award to Plaintiff and the classes of damages,                              as

allowed by law;

       G.      Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.

DATED this 12th day of March, 2025.

                                               PLAINTIFF,
                                               By his attorneys,

                                      By:      _s/ Dave Maxfield_____________
                                               David A. Maxfield, Fed ID 6293
                                               P.O. Box 11865
                                               Columbia, SC 29211
                                               803-509-6800
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                                855-299-1656 (fax)
                                dave@consumerlawsc.com

                                Anthony I. Paronich
                                Paronich Law, P.C.
                                350 Lincoln Street, Suite 2400
                                Hingham, MA 02043
                                (508) 221-1510
                                anthony@paronichlaw.com
